       Case 2:17-cv-10022-SM-MBN Document 29 Filed 02/05/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


CARLOS TORRES, on behalf of                       CIVIL ACTION NO 17-10022
himself and other persons similarly situated,

       Plaintiff,                                 JUDGE
v.                                                SUSIE MORGAN

INTELIQUENT, INC., and NEUTRAL
TANDEM-LOUISIANA, LLC                             MAG. JUDGE
                                                  MICHAEL NORTH
       Defendants.



                                            ORDER

      After considering Plaintiff’s Motion to Dismiss Without Prejudice, it is hereby

ORDERED that Plaintiff’s Motion is GRANTED and the claims of plaintiff, Carlos

Torres, against defendants, Inteliquent, Inc. and Twilio, Inc., are hereby dismissed without

prejudice.

      IT IS FURTHER ORDERED that Defendants' Motion to Dismiss (R. Doc. 17) is hereby

dismissed without prejudice as moot.


       New Orleans, Louisiana, this 5th day of February, 2018.


                                                _________________________ _____
                                                HON. SUSIE MORGAN
                                                UNITED STATES DISTRICT JUDGE
